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                            UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

 In re
 CHRIS E. CARHART,                                 Case No. 9:16-bk-06499-FMD

                      Debtor.


 ROBERT E. TARDIF, JR., Trustee,                   Adv. Pro. No. 9:17-AP-00505-FMD

                      Plaintiff,
 v.

 KEXIN CARHART                                    Judge:               Caryl E. Delano

                      Defendant.


                                    ANSWER
                            TO ADVERSARY COMPLAINT


Now comes the Defendant, Kexin Carhart (Hereinafter the “Defendant”) and in Answer to
the Trustee’s Complaint state as hereinafter follows:

      1.   The Defendant Admits the allegations of this Paragraph 1

      2.   The Defendant Admits the allegations of this Paragraph 2.

      3.   The Defendant Admits the allegations of this Paragraph 3.

      4.   The Defendant Admits the allegations of this Paragraph 4.

      5.   The Defendant Admits the allegations of this Paragraph 5.

      6.   The Defendant Admits the allegations of this Paragraph 6.

      7.   The Defendant Admits the allegations of this Paragraph 7.

      8.   The Defendant Admits the allegations of this Paragraph 8.

      9.   The Defendant Denies the allegations of this Paragraph 9. Furthermore, the
           Defendant affirmatively states that the Naperville property is subject to two
           secured interests, to wit: a first mortgage to Bank of America for $460,000.00
           and a valid Illinois judgment lien against the Debtor’s one half of the property,
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          in the amount of $333,614.33 that viewed together constitute a dollar amount far
          in excess of the estimated value of the property of $750,000.00 plus costs of sale
          and the expenses of preserving the property since the Bankruptcy case was first
          filed. If the property is sold, the estate would realize nothing, rendering the sale
          of the Naperville property a useless act.

   10.    The Defendant Denies the allegations of this Paragraph 10. Furthermore the
          Defendant restates her affirmative answer to paragraph 9 above.

   11.    The Defendant admits the allegations of paragraph 11.

Wherefore, the Defendant prays for the entry of a judgment against the Plaintiff Trustee
and denying the sale of the Defendant’s Illinois Property.

Executed this 23rd day of October, 2017




/s/ John S. Biallas
Attorney for Kexin Carhart, Defendant




                                    Certificate of Service
I hereby certify that a true and accurate copy of the foregoing Answer has been furnished
the US Trustee, and to the Plaintiff Trustee Robert E. Tardiff, Jr. by electronic notice.

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